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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT

______________________________
Steven J. Edelstein            :
                               :
       Plaintiff,              :              16 Civ. 01353 (WWE)
                               :
       v.                      :
                               :
Lucas Brand Equity, LLC,       :
Hyd USA, LLC, and Jay Lucas,   :
                               :
       Defendant.              :
______________________________:




       DEFENDANTS LUCAS BRAND EQUITY LLC AND JAY LUCAS’S
    MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
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I.     INTRODUCTION

       Plaintiff Steven Edelstein lacks standing to sue Lucas Brand Equity LLC and Jay Lucas

because Plaintiff cannot prove any injuries that are traceable to these two defendants.

       Article III of the Constitution limits federal judicial power to “cases” and

“controversies,” and thus imposes the “irreducible constitutional minimum” of standing. Lujan

v. Defs. of Wildlife, 504 U.S. 555, 559–60 (1992) (citations and quotations marks omitted). To

establish Article III standing, “a plaintiff must show (1) it has suffered an ‘injury in fact’ that is

(a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical; (2)

the injury is fairly traceable to the challenged action of the defendant; and (3) it is likely, as

opposed to merely speculative, that the injury will be redressed by a favorable decision.” Friends

of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180–81 (2000) (citing Lujan, 504

U.S. at 560–61).

       Plaintiff bears the burden of establishing Article III standing. Lujan, 504 U.S. at 561.

For the reasons below, Plaintiff cannot satisfy his burden. Thus, pursuant to Rule 12(b)(1) of the

Federal Rule of Civil Procedure, the claims against these defendants should be dismissed for lack

of subject matter jurisdiction.

II.    BACKGROUND ON THE ORGANIZATION OF PRIVATE EQUITY FUNDS

       “The separation of funds and managers is nearly universal among the types of enterprise

that we commonly think of as investment funds.” John Morley, The Separation of Funds and

Managers: A Theory of Investment Fund Structure and Regulation, 123 YALE L.J. 1228, 1234

(2014) (“Morley, The Separation of Funds and Managers”). Nonetheless, Plaintiff and his

counsel completely overlooked this distinction. A brief background on how private equity funds

are structured is helpful in clarifying these matters.



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         “The vast majority of domestic private equity funds use the limited partnership form of

organization for the Fund.”      JAMES M. SCHELL      AND   KRISTINE M. KOREN, PRIVATE EQUITY

FUNDS: BUSINESS STRUCTURE AND OPERATIONS § 3.01 at 3-1 (2016) (“SCHELL, PRIVATE EQUITY

FUNDS”).     “In the United States, limited partnerships, like corporations are legal entities

authorized by statute.” Id. § 3.01[1] at 3-2.

         Institutional and high-net worth individual invest their money into the fund pursuant to

the terms in a Limited Partnership Agreement. The liability of these investors is limited to their

investment and they do not make any investment decisions for the fund – thus, they are referred

to as limited partners. The general partner of the fund makes the investment decisions and

decides which investments to include in its portfolio. General partners can, and often do,

manage more than one private equity fund at a time. The general partners are usually the

“sponsor” or originator of that particular fund. General partners have fiduciary duties to the fund

and unlimited liability.

         The fund and the general partner (i.e., the investment manager) are separate legal entities.

“By virtue of the fact that funds and management companies are separate entities, any creditors

who contract with a management company have no claims against the assets of the funds.”

Morley, The Separation of Funds and Managers, 123 YALE L.J. at 1240. And, of course, vice-a-

versa.

         It has long been true that the general partner may be a corporation so as to address

concerns regarding the scope of the general partner’s unlimited liability. See SCHELL, PRIVATE

EQUITY FUNDS § 3.01[2] at 3-5. Absent such protection, many individual people would not

participate in the management of a fund since it would expose them to unlimited liability.




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        In recent years, limited liability companies or LLCs have emerged as a popular legal

entity to replace corporations for limited liability. “Many states, including Delaware, now

authorize limited liability companies in which neither the owners (called members) nor the

managers have personal liability for the debts and obligations of the limited liability company.”

Id. Because LLCs can elect to be treated as partnerships for tax purposes and also have the

flexibility of a partnership, “the limited liability company is becoming the favored form of

organization for the General Partner and the two-tier structure the most common place for

domestic private equity funds.” Id. at 3-6.

        The private equity fund in this case is Lucas Brand Equity LP (an entity that was not

sued). The private equity fund’s general partner – that is, the fund’s investment manager – is

Lucas Brand Equity LLC. Jay Lucas is one of the LLC’s managing members. These are

separate legal entities.

        Put another way, the private equity fund that Plaintiff has attempted to put at the center of

this litigation is structured in the same way as thousands of other private equity funds across the

county. This fact is publicly available on the Internet. See Lucas Brand Equity LP’s Form D

(filed with the SEC on April 26, 2016) available at https://www.sec.gov/Archives/edgar/data/

1588036/0001 58803616000001/xslFormDX01/primary_doc.xml.1




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   The Securities and Exchange Commission promulgated Regulation D to enable issuers such as
Lucas Brand Equity LP to sell securities without registering them with the SEC as otherwise
required under the Act. See 17 C.F.R. § 230.503. Issuers that sell securities in reliance on
Regulation D are required to file Form D with the SEC. The private equity fund’s Form D is the
first document available when one googles: “Lucas Brand Equity LP”.



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III.   PLAINTIFF ONLY WORKED AS CHIEF OPERATING OFFICER OF HYD

       The evidence at the recent hearing forecloses any argument that an injury suffered by

Plaintiff could be fairly traceable to the fund’s investment manager or it managing member.2

Plaintiff repeatedly testified that he was only the chief operating officer of Hyd for Men, a small

company that sold men’s products that a private equity fund invested in.

                 Q Okay. And did Mr. Lanzaro have -- and you were chief operating
                 officer of HYD USA during this time period?

                 A Correct.

Tr. at 13 (questioned by Plaintiff’s counsel). Plaintiff also testified that he had no other jobs:

                 Q Did you have any other job or employment during the time that you
                 served as chief operating officer for HYD USA?

                 A No.

Tr. at 28 (questioned by Plaintiff’s counsel).

       Plaintiff’s counsel continually tried to either overlook or obscure the fact that Plaintiff

only worked for Hyd as a chief operating officer

                 MR. LEHMAN: Can he clarify which entity?

                 MR. MADSEN: We'll get to that. . . .

Tr. at 6. Plaintiff’s counsel went so far as to insert leading questions that amount to nothing more

than counsel’s inadmissible testimony. See Tr. at 33-34 (Q “Well, did HYD -- did Lucas Brand

-- during the time that you were chief operating officer for Lucas Brand Equity and HYD USA –

” A “Right.”).

       But, on cross-examination and when required to answer the question by the Court,

Plaintiff finally admitted he was only the chief operating officer of Hyd.

2
 The transcript is attached as an exhibit to this memorandum and also available at CM/ECF 47-1
as an exhibit. The pages of the transcript are referred to as Tr. at ___.

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                 A My understanding was I was the chief operating officer of HYD as a
                 portfolio company, as a brand.

                 Q Were [you] ever a chief operating --

                 A No. I was not a chief operating officer for Lucas Brand Equity, LLC . . .

Tr. at 145.

                 MR. LEHMAN: So were you chief operating officer of Lucas Brand
                 Equity, LLC?

                 MR. MADSEN: Objection.

                 MR. LEHMAN: Can you tell us what your objection is?

                 MR. MADSEN: It's been asked and answered.

                 THE COURT: Overruled. I'll let him answer one more time.

                 THE WITNESS: I’m sorry?

                 Q Were you chief operating officer of Lucas Brand Equity, LLC?

                 A I was not.

Tr. at 147-48.

       Indeed, Plaintiff finally admitted that he was never paid by the LLC – although only after

looking at his own exhibits (particularly Exhibit 17, which contains the wire transfers by which

he was paid) and having repeatedly asserted that he was:

                 Q So sitting there right now, you don't know of a single instance where
                 the LLC paid you?

                 A No, I don't.

Tr. at 181.




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IV.    CONCLUSION

       The facts underlying this litigation can be summarized as follows: A private equity fund

invested in a small company that focuses on men’s personal grooming.              Plaintiff was the

company’s chief operating officer. Plaintiff has now sued the company, the private equity fund’s

investment manager and one of its managing members.

       The claims against the investment manager and its managing member must be dismissed.

There is no legal injury that can be fairly traced to them and, as a result, Plaintiff lacks standing

to sue them.



Date: April 14, 2017

                                                                               /s/ Brian Lehman
                                                                                     Brian Lehman
                                                                                 Lehman LG LLC
                                                                            Counsel for Defendants




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                                  CERTIFICATE OF SERVICE

I hereby certify that on the 14th day of April 2017, a true copy of Defendants’ Motion to Dismiss

for Lack of Subject Matter Jurisdiction and its supporting memorandum of law was served on all

counsel of record by the CM/ECF system of the District of Connecticut, which then sends a

notification of such filing to all counsel of record.



Date: April 14, 2017

                                                                            /s/ Brian Lehman
                                                                                  Brian Lehman
                                                                              Lehman LG LLC
                                                                         Counsel for Defendants




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